Fill in this information to identify your case:

Debtor 1 ANDREW JAMES CLEMMONS

First Name Middle Name Last Name
Debtor 2 DOROTHY JEAN CLEMMONS
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: DISTRICT OF NEW MEXICO

Case number
(if known) OO Check if this is an

amended filing

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12/15

If you are an individual filing under chapter 7, you must fill out this form if:
@ creditors have claims secured by your property, or

x you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditors New Rez OO Surrender the property. O No
name. 0 Retain the property and redeem it.
_ ; CZ Retain the property and enter into a Mi Yes
Description of 601 West Miller Bloomfield, NM Reaffirmation Agreement.
property 87413 San Juan County @ Retain the property and [explain]:

securing debt; 5/2019 refinance. Advised by
that creditor that value is
$180,000.00. 2019 tax assessed
value is less at $163,408.00. Keep and pay

Creditors US Bank @ Surrender the property. BNo
name. 1 Retain the property and redeem it.

a C Retain the property and enter into a O Yes
Description of 2016 Fleetwood R.V. Reaffirmation Agreement.
property CZ Retain the property and (explain):

securing debt: $54,000.00 Kelly Blue Book
value of $54,000.00.

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase com Best Case Bankruptcy

Case 19-11475-j7 Docé Filed 06/20/19 Entered 06/20/19 14:30:24 Page 1 of 2
Debtor1 ANDREW JAMES CLEMMONS
Debtor2 DOROTHY JEAN CLEMMONS

Describe your unexpired personal property leases

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Sign Below

Case number (if known)

Will the lease be assumed?
O No
O Yes
O No
O Yes
O No
O Yes
O No
O Yes
O No
O Yes
O No
DO Yes

OO No

O Yes

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any personal

Signature of

property that is subject to an unexpired lease.
fibers Goromne
A W JAM EMMONS
‘or 1

Date O- Os + ZIG

A. OT carat

794 At (
OROTHY JEAN CLEMMONS
Signattire of Debtor 2

one /e [= [2019

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

page 2

Best Case Bankruptcy

Case 19-11475-j7 Docé Filed 06/20/19 Entered 06/20/19 14:30:24 Page 2 of 2
